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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

    Caption in Compliance with D.N.J. LBR 9004-1(b)
                                                                                Order Filed on May 15, 2018
                                                                                          by Clerk
        KING & SPALDING LLP                                                       U.S. Bankruptcy Court
        Timothy H. Caine, Esq.                                                    District of New Jersey
        1185 Avenue of the Americas
        New York, New York 10036
        Tel: (212) 556-2100
        Fax: (212) 556-2222
        Proposed Attorneys for the Debtors
        and Debtors-In-Possession



                                                                  Case No.:    Case No. 18-14603
                                                                              ___________________
    In Re:
        PRINCETON ALTERNATIVE INCOME FUND,                        Adv. No.:   ___________________
        LP
        and                                                       Chapter:             11
                                                                              ___________________
        PRINCETON ALTERNATIVE FUNDING, LLC
         Debtors and Debtors-In-Possession.                       Judge:       Michael B. Kaplan
                                                                              ___________________



                                            ORDER FOR ADMISSION PRO HAC VICE
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              The relief set forth on the following page is ORDERED.




DATED: May 15, 2018




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            This matter having been brought before the Court on application for an Order For Admission
    Pro Hac Vice; and the Court having reviewed the moving papers of the applicant, out-of-state
    attorney, and considered this matter pursuant to Fed.R.Civ.Proc.78, D.N.J. L.Civ.R.101.1 and D.N.J.
    LBR 9010-1, and good cause having been shown; it is

                                    M. ALEXANDER KOCH
            ORDERED that ____________________________________________ be permitted to appear
    pro hac vice; provided that pursuant to D.N.J. L.Civ. R. 101.1(c)(4), an appearance as counsel of record
    shall be filed promptly by a member of the bar of this Court upon whom all notices, orders and
    pleadings may be served, and who shall promptly notify the out-of-state attorney of their
    receipt. Only an attorney at law of this Court may file papers, enter appearances for parties, sign
    stipulations, or sign and receive payments on judgments, decrees or orders, and it is further

            ORDERED that the applicant shall arrange with the New Jersey Lawyers' Fund for Client
    Protection for payment of the annual fee, for this year and for any year in which the out-of-state attorney
    continues to represent a client in a matter pending in this Court in accordance with New Jersey Court Rule
    1:28-2 and D.N.J. L. Civ. R. 101.1, said fee to be deposited within twenty (20) days of the date of the
    entry of this Order, and it is further

            ORDERED that the $150.00 fee required by D.N.J. L. Civ. R. 101(c)(3) for pro hac vice
    admission to the District Court for the District of New Jersey shall also be payable within twenty (20)
    days of entry of this Order. Payment in the form of a check must be payable to "Clerk, USDC" and
    forwarded to the Clerk of the United States District Court for the District of New
    Jersey at the following address:

                                             United States District Court
                                                District of New Jersey
                                       Martin Luther King, Jr. Federal Building
                                                  50 Walnut Street
                                                 Newark, N.J. 07102
                                        Attention: Pro Hac Vice Admissions

            and it is further ORDERED that the applicant shall be bound by the Local Rules of the United
    States District Court for the District of New Jersey and the Local Rules of Bankruptcy Procedure for
    the District of New Jersey; and it is further

            ORDERED that the Clerk shall forward a copy of this Order to the Treasurer of New Jersey
    Lawyers' Fund for Client Protection within 5 days of its date of entry.


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